Case 2:04-cV-02711-.]P|\/|-de Document 12 Filed 07/26/05 Page 1 of 2 Page|D 9

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FoR THE wEsTERN DISTRICT oF TENNESS BY .._Q D_c

wEsTERN DIVISION 05 JUL 26 PH |_

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TREY ALAN MAJORS,
Plaintiff,

vs. No. 04-27ll-M1V

KENNETH BOYD, et al.,

Defendants.

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ORDER GRANTING MOTION FOR EXTENSION OF TIME

 

Before the court is defendant Kenneth Boyd’s July 22, 2005 pro
se Motion for Enlargement of Time for Defendant Kenneth Boyd to
respond to the complaint up to and including August 18, 2005.

The court finds the motion should be granted, and the time for

filing a response is extended to Au ust 18 2005.

 

IT IS SO ORDERED.

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DIANE K. vEscovo
UNITED si§rl~:s MAGISTRATE JUDGE
DATE= 25 , 2005

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Thi s document entered on the docket sheet |n com iance
with Flule 56 and/or 79{3) FHCP on 2 522 Q,§

 

SATTES DISTRICT oURT - WESTRNE ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-027]1 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Trey Alan Majors

Southeastern TN State Regional Correction Facility
247162

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Kenneth Boyd
WTSP

Site # 2

P.O. Box l 150
Henning, TN 38041

Honorable J on McCalla
US DISTRICT COURT

